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                                                                USDC-SDNY
UNITED STATES DISTRICT COURT                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                   ELECTRONICALLY FILED
                                                                DOC#:
 CATHY AREU,                                                    DATE FILED: 10-20-20

                             Plaintiff,
                                                                  20-CV-8678 (RA)
                        v.
                                                                       ORDER
 FOX NEWS NETWORK, LLC, et al.,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

         Because this case was severed from Eckhart v. Fox News, LLC on October 19, 2020, the date on

which Defendants’ motions to dismiss were due, it is hereby ORDERED that Defendants’ deadline to

file their motions to dismiss in this action is adjourned until October 20, 2020. The remainder of the

deadlines set by this Court in Case Number 20-cv-5593 on October 8, 2020, will remain the same in this

case. Plaintiff Areu’s memorandum in opposition to the motion to dismiss shall be filed no later than

November 9, 2020, and Defendants’ reply shall be filed no later than November 23, 2020. Plaintiff

Areu’s memorandum in opposition to Defendants’ Rule 11 motion shall be filed no later than October

23, 2020, and Defendants’ reply shall be filed no later than October 30, 2020. See case no. 20-cv-5593

Dkt. 75.

SO ORDERED.

Dated:      October 20, 2020
            New York, New York

                                                RONNIE ABRAMS
                                                United States District Judge
